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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

GENENTECH, INC. and                              )
INTERMUNE, INC.,                                 )
                                                 )
                      Plaintiffs,                )
                                                 )
               v.                                )   C.A. No.
                                                 )
MICRO LABS LTD. and                              )
MICRO LABS USA INC.,                             )
                                                 )
                      Defendants.                )

             SUPPLEMENTAL INFORMATION FOR PATENT CASES
        INVOLVING AN ABBREVIATED NEW DRUG APPLICATION (ANDA)

       Plaintiffs Genentech, Inc. and InterMune, Inc., by their attorneys, hereby provide the

information below with respect to the deadlines set forth in 21 U.S.C. 355(j):


Date Patentees Received             On or about December 8, 2018 Plaintiffs received notice
Notice:                             that Defendants had filed ANDA No. 212680 for 267 mg
                                    and 801 mg pirfenidone tablets.

Date of Expiration of Patents:      Multiple expiration dates from September 22, 2026
                                    through August 30, 2033, subject to pending requests
                                    seeking patent term extension under 35 U.S.C. § 156. See
                                    list attached.

Thirty Month Stay Deadline:         April 15, 2022 (the thirty month stay does not start to run
                                    until New Chemical Entity exclusivity expires on October
                                    15, 2019)
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Asserted Patents and Expiration Dates:

Patent No.         Expiration
8,383,150          9/22/2026
7,767,700          12/18/2027
8,420,674          12/18/2027
7,566,729          4/22/2029
7,635,707          4/22/2029
8,592,462          4/22/2029
8,609,701          4/22/2029
7,816,383          1/8/2030
7,910,610          1/8/2030
8,013,002          1/8/2030
8,084,475          1/8/2030
8,318,780          1/8/2030
8,648,098          1/8/2030
8,754,109          1/8/2030
8,778,947          8/30/2033

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                                         /s/ Jack B. Blumenfeld

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January 18, 2019




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